Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 1 of 9

EXHIBIT 12

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 2 of 9

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

 

WAYMO LLC, )
Plaintiff, )
vs. ) Case No.
UBER TECHNOLOGIES, INC., ) 3:17-cv-00939-WHA

OTTOMOTTO LLC; OTTO )
TRUCKING LLC, )

Defendants. )

 

HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

VIDEOTAPED DEPOSITION OF DANIEL CHU
San Francisco, California
Monday, April 3, 2017

Volume I

Reported by:
SUZANNE F. GUDELJ, CSR No. 5111

Job No. 2583707

PAGES 1 - 53

Page 1

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 3 of 9

 

 

THE WITNESS: So it's -- it's probably a --
a growing -- growing list of folks, but the folks
that we'd probably look at most are -- are Uber in

terms of their self-driving efforts. We also look
at, for instance, Tesla in terms of some of their --
their efforts there.
BY MR. GONZALEZ:
Q Would you agree that your number one
competitor in the market is Uber?
MS. BAILY: Object to form.

THE WITNESS: I think it depends what

BY MR. GONZALEZ:
Q All right. Let me focus on -- on your

words. I'll use your words.

A Sorry, say again?

10:06:20

10:06:28

10:06:59

Page 7

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 4 of 9

 

 

MS. BAILY: Object to form. 10:07:09

THE WITNESS:

BY MR. GONZALEZ:
Qo Would you agree that it's your number one
competitor in that space? 10:07:18
MS. BAILY: Object to form.

BY MR. GONZALEZ:

Q I'm not trying to trap you.
A Yeah.
QO If somebody else is number one, I want to 10:07:20

know, that's all.
A Yeah.

Q So let me go back.

10:07:26
MS. BAILY: Same objection.
THE WITNESS:
BY MR. GONZALEZ:
Q And who would you consider to be number 10:07:33
Page 8

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 5 of 9

 

 

basically my user research team does the surveys.
BY MR. GONZALEZ:
Q And your research team is to have -- does
it have a name?
A They -- they basically just called it the 10:08:38

user research group, yeah.

Q User research group?

A Yeah.

Q Not Daniel's brigade or anything like that?

A No. 10:08:49

Q All right. [ees

a
A I don't remember the exact date.
Q Approximately. 10:08:58
A But approximately, we've done probably in

the last -- I'm trying to remember -- I mean, last

few months, but it's been more focused on the
markets that we're interested in, yeah.
QO And what markets are those that you were 10:09:13

more focused on?

«10-09 «2:

Page 10

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 6 of 9

 

 

MS. BAILY: Object to form.

THE WITNESS: It's -- well, are you talking
about litigation in general or like this -- this
litigation in specific?

BY MR. GONZALEZ:

Q Litigation in general.

Q All right. Fair enough. Let's talk about
this litigation.

A Yeah.

10:09:53

10:10:08

10:10:20

Page 11

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 7 of 9

 

 

MS. BAILY: Object to form.

THE WITNESS: aes

BY MR. GONZALEZ:
Q Do you ever have communications with public
agencies about your vehicles?
A Do --
‘MS. BAILY: Object to form.
THE WITNESS: Do I personally or --

BY MR. GONZALEZ:

Q Yes, you.

A Most of my efforts are more internal
focused.

Q Who at Waymo is the person who communicates

with public agencies to try to get approval for you
to be able to drive your autonomous vehicles there?
A It's probably going to be more of our
public policy team and our partnership teams.
Q And who are the people who are in charge of
those groups?

A So -- I'm trying to think. So Kevin Vosen,

10:10:51

10:10:57

10:11:08

10:11:20

Page 12

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 8 of 9

 

 

San Francisco, if they were going to run through red
lights or whatnot, as -- and -- and that kind of
hurts other players, right. It hurts the perception
of the technology.
Q Then the next page, page 12 of the 10:23:04

PowerPoint, it says:

And there's a subheading:

What does that mean?

A What it means is if we look at the --yy
And so this is referring to let's assume
they do that. How -- how can we make it so it's --
it's -- it's harder for them to do that. 10:24:02
Page 25

 

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Case 3:17-cv-00939-WHA Document 301-3 Filed 04/28/17 Page 9 of 9

 

 

of billions of dollars?
MS. BATLY: Object to form.
THE WITNESS: You're saying in general or
you're saying for particular like -- I just want to
make sure I'm answering the question correctly. 10:40:59

BY MR. GONZALEZ:

Q That's fair.

A Yeah.

A Okay. 10:41:04
Q Would you agree that the ride-sharing

market for autonomous vehicles is likely to be in
the hundreds of billions of dollars?
MS. BAILY: Object to form.
THE WITNESS: I think it's -- it's 10:41:17
definitely possible that in the -- in the
ride-sharing market alone for self-driving cars on a
global basis that it will be in the hundreds of
billions of dollars, that's correct.
BY MR. GONZALEZ: 10:41:33
Q Let me show you a document we've marked as
1033.
(Defendant Exhibit 1033 marked by the court
reporter.)

BY MR. GONZALEZ: 10:41:39

Page 40

 

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